Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 1 of 24

CHRIST T. TROUPIS

TROUPIS LAW OFFICE P.A.
1299 E. lron Eagle, Ste 130

P.O. Box 2408

Eagle, Idaho 83616

Ph: (208) 938-5584

Fax: (208) 938-5482

Email: ctroupis@troupislaw.com

JOHN ERIC SUTTON

J.E. SUTTON & ASSOCIATES
200 N. 3 St., Ste2&3

Boise, Idaho 83701

Ph: (208) 336-4444

Fax: (208) 336-4494

Email: jesutton@jesutton.com

Attorneys for Plaintiff Idaho Republican Party

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,

vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

ee See Smee eee “age ee “eee ee! age “ee “oe

SECOND AFFIDAVIT OF
DAVID RIPLEY

David Ripley, being first duly sworn, deposes on oath and states:

1. | am not a party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

Second Affidavit of David Ripley 1
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 2 of 24

2. | came to Idaho in 1984 under the auspices of the National Education
Association’s Political Action Committee (NEA-PAC) to assist with the election of
Richard Stallings to Congress from Idaho’s 2™ District.

3. | have been a paid political strategist in every election cycle since 1978, during
which | served as a field organizer for Gene Wenstrom, Democratic candidate for
Congress in Minnesota’s 7" District.

4. In 1985, | served as the general political consultant/strategist for a mayoral
candidate in New Orleans, after which | returned to Idaho to co-found a
progressive political consulting firm with John C. Stocks, former Democrat state
senator from Coeur d’Alene, Idaho.

5. As a Democrat political consultant, my client list included the Idaho State Senate
Democrats’ Campaign Committee, the Ada County Democratic Party, the
LaRocco for Congress Committee, the Williams for Congress Committee, the
Idaho Education Association, the Wisconsin Education Association, the National
Education Association, the National Organization for Women, Freedom Means
Choice PAC, among numerous others.

6. In 1992 | closed the successor consulting firm (Ripley & Associates, Inc.) in order
to accept a full-time position as the first Political Director of the Idaho Education
Association. | served in that position until 1994.

7. Since 1995 | have served as Executive Director of Idaho Chooses Life. In that

capacity | have been involved in many legislative campaigns each election cycle.

Second Affidavit of David Ripley 2
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 3 of 24

8. | have been heavily involved in every primary and general election in Idaho since
1984, helping numerous candidates and organizations with campaign
organization and conduct.

9. | was retained as an expert witness by the Plaintiff in this case. | was asked to
review the statistical data from voting records maintained by the Idaho Secretary
of State in his capacity as supervisor of Idaho Elections covering recent Idaho
Republican Party Primary elections, and analyze that data in order to form an
opinion as to whether patterns of strategic cross-over voting could be discerned
in particular elections.

10. The Idaho Secretary of State maintains statistical voting data for Idaho elections
for national, statewide, county, and legislative district office. | hypothesized that
discernable patterns of cross-over voting, if they existed, could be most easily
identified in state legislative primary elections because of the relatively small
number of ballots cast and the even smaller number of cross-over votes
necessary to affect the outcome of a legislative primary.

11.In formulating my opinions and conclusions, and preparing my expert report, |
reviewed elections data for the following Republican Primary elections:

a) 2008 primary election in District 10 for House Seat 10A between Rep.
Curtis Bowers and Pat Takasugi;

b) 2008 primary election in District 10 for U.S. Senate and 1° Congressional
District;

c) 2004 primary election in District 14 for Senate between Rod Beck and Hal

Bunderson;

Second Affidavit of David Ripley 3
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 4 of 24

d) 2004 primary election in District 14 for House Seat B between incumbent
Rep. Henry Kulczyk and challenger Stan Bastian;

e) 2006 primary election in District 14 for Senate between Rod Beck and
Stan Bastian;

f) 2002 primary election in District 15 for Senate between incumbent Senator
John Andreason and Dennis Mansfield;

g) 2004 primary election in District 15 for House Seat B between incumbent
Rep. Max Black and Lynn Luker;

h) 2006 primary election in District 15 for Senate between incumbent Senator
John Andreason and Dennis Mansfield:

i) 2004 primary election in District 28 for House Seat B between Joseph
Cannon and Steve Adams;

j) 2004 primary election in Latah County for Senate between Senator Gary
Schroeder and Gregg Vance;

k) 2006 primary election in Latah County for 1** Congressional District
involving six (6) candidates including Bill Sali and Sheila Sorenson.

12. The primary election returns that | analyzed do not represent an exhaustive study
of all legislative races affected by cross-over voting. | am confident that a review
of other primary elections held throughout the State would reveal widespread
anomalous voting patterns indicative of strategic cross-over voting.

- 13.In preparing my analysis, | used election data returns available on the Secretary
of State’s website for primary and general elections in 2002, 2004, 2006 and

2008. That data is accurately and completely reported in my report. A true and

Second Affidavit of David Ripley 4
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 5 of 24
accurate copy of that report is attached hereto, marked Exhibit A, and

incorporated herein by this reference

FURTHER, AFFIANT SAYETH NOT. J /

David Ripley

) ss.

)

State of Idaho
ribed and sworn to before me, a Notary Public in and for the State of Idaho

County of Ada

Subs sp
on this_/2 "day of January, 2010.
(hr 1p

Notary Public
(TEE My commission pies
RR Teg Residing At:
a vo 2
Se e LOS
4 =
“. hs. Yai >
os =
ORO EigNeO w
try ys
5

Second Affidavit of David Ripley
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 6 of 24

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 13"" day of January, 2010, | served a copy of

the foregoing Second Affidavit of David Ripley by email transmission, addressed to the
following persons:

Gary Allen

Givens Pursley

P.O. Box 2720

Boise, Idaho 83701-2720
garyallen@givenspursley.com

Harry Kresky

LAW OFFICE OF HARRY KRESKY
250 W. 57" Street, Ste 2017

New York, NY 10107
harrykresky@aol.com

Michael S. Gilmore

Karin D. Jones

Deputy Attorneys General

Civil Litigation Division

Office of the Attorney General

954 W. Jefferson Street, Second Level
P.O. Box 83720

Boise, ID 83720-0010
mike.gilmore@ag.idaho.qov
karin.jones@ag.idaho.gov

Second Affidavit of David Ripley 6
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 7 of 24
David D. Ripley

January 13, 2010

TO: CHRIST TROUPIS
FM: DAVID RIPLEY

RE: OVERVIEW OF RESEARCH ON STRATEGIC
CROSS-OVER VOTING IN IDAHO

With limited time and budget, I was able to review election data in five different legislative
districts of Idaho and ten different races. In addition, I looked at the 2006 GOP
congressional primary data from Latah County (District 6). Those legislative districts
represent a sampling of geography and voting populations in Idaho. J included primary
elections from 2002, 2004, 2006 and 2008 in order to provide you with an analysis of
cross-over voting over time.

Based upon that review, I am convinced that the following report demonstrates a prevalent
pattern of Democrat cross-over voting designed to produce more liberal members of the
Idaho Legislature. | am further convinced that if we had additional time and resources,
many more examples of cross-over voting could be produced for the court.

Idaho’s current open primary system invites such Democrat activism in order to impact
public policy.

The primary analytical tool I used in conducting my study was to look for patterns of “over-
voting”, also known as “bullet balloting”. That behavior occurs when activists are turned-
out to vote in a particular Republican primary race (in Idaho, that most likely means a
legislative primary), with little interest in top-of-the-ticket races, That contradicts the
natural voting patterns of average voters who are more likely to participate in the “big”
races at the top of the ballot, with declining participation rates as voters work their way
down the ballot.

The following report shows that strategic cross-over voting is happening in Idaho. The
scale of anomalous data I’ve uncovered in this limited study is very difficult to explain any
other way.

On that basis, I am reasonably certain that at least four election outcomes were changed by
the participation of Democrat cross-over voters: Kulczyk (2004), Mansfield (2002), Beck
(2006) and Luker (2004).

Exhibit A
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 8 of 24

Four other election outcomes may have been changed through DCOV: Bowers (2008),
Mansfield (2006), Adams (2004) and Beck (2004).

In addition, the overwhelming vote received by Schroeder (2004), largely through DCOV,
has obviously discouraged any subsequent primary challenge against the liberal
Republican incumbent.

In my opinion, the data which follows demonstrates that cross-over voting is not only well-
established in Idaho, but that it is having a significant impact on the composition and

ideological make-up of the Idaho Legislature.

My report is exhaustive of the research I was able to finish in the time frames you gave me.
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 9 of 24

Analysis of Recent Primaries in Latah County

There is strong forensic evidence of an effective Democrat cross-over campaign in Latah County during
both the 2004 and 2006 Republican Primaries.

For the years between 2000 and 2008, the proportion of Democrat primary ballots in Latah runs in the
range of 55/45. But in 2004, the proportion fell to a dramatically low 25%. | believe this is best

explained by an organized effort to protect incumbent Republican state senator Gary Schroeder from a
strong primary challenge.

2006 also produced electoral aberration, in which the proportion of Democrat ballots fell to 41%. This is
likely the result of an organized effort to encourage Democrat support of Sheila Sorensen in the
Congressional primary.

Analysis of 2004 State Senate Primary:

The incumbent state senator, Gary Schroeder, is known as a liberal Republican senator with very close
ties to the Idaho Education Association”. His voting record is consistently at odds with the Republican
State Party Platform on issues ranging from abortion, taxes, marriage and spending*’. In 2004, he faced
his most serious primary challenge at the hands of Gregg Vance.

The Idaho Education Association donated a maximum $2,000 directly to Schroeder’s campaign, and
reports spending an additional $30,004.23 in expenditures related to membership organizing/

electioneering; it is quite possible that a significant portion of this money was spent in Latah County
during the primary.*°

One of the characteristics of strategic cross-over voting is “bullet balloting”, where Democrats are
persuaded to vote in a single race (or couple of races) in order to achieve some short-term political goal.

2004 was a presidential election year. It is striking that 2,399 Republican ballots were cast for President
George Bush; another 1,068 were cast for “None of the Names Shown”. This latter voting block is a first
indicator of cross-over voting; Democrat voters would likely be uncomfortable supporting an incumbent
Republican president while they hoped for a viable alternative in John Kerry. (Of course, some
conservative Republicans were becoming unhappy with some of Bush’s policies by this point in his

presidency). In any event, the total number of “Republican” votes cast for president in District 6 was
3,467.

What is even more suspicious is that just 2,930 voters went on to cast a primary ballot supporting
incumbent Mike Crapo — one of the most popular Republicans in Idaho. That is a drop-off of 537 votes.

“Fall-off” is a regular occurrence in any election, where most voters come out for the top-of-the-ticket
and each contest from there down draws less and less participation. (Please see the following graph,
“Comparison of Votes Cast in Latah County”. It shows the more normalized trend of voter participation
in the 2004 general election versus the odd patterns of the preceding primary election.)

What is unusual is that the vote totals for U.S. Congress go up — to 3212, an increase of some 282 votes.
I suspect this is the result of Democrat cross-over voters (DCOV) using the option of voting for a
“protest” candidate (Jim Pratt) against incumbent Republican Butch Otter.

(1)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 10 of 24

What is most important, however, is that the vote totals for the state senate contest jump to 3,947,
some 480 more ballots than were cast in the presidential race — and over 1500 more votes than were
cast for the incumbent Republican, President Bush.

Sen. Schroeder won that election with 68% of the vote, with a plurality of 1423 votes. It is, of course,
possible that Schroeder would have won that election without the aid of Democrat cross-over; however,
the margin would certainly have been much smaller.

The negative consequences of this victory by Schroeder have been important for the Republican Party in
Idaho.

Sen. Schroeder has been free to tighten his relationship with the state’s foremost union, while
distancing himself from the core values of the Republican Party, as expressed in the Idaho GOP State

Platform. His margin of victory has discouraged any other Republican from challenging him; and, in fact,
he was unopposed in the last two primaries.

Analysis of 2006 Congressional Primary:

The Republican Primary of 2006 saw the emergence of 6 candidates to fill an open seat created by Butch
Otter’s decision to run for Governor.

The most liberal candidate in the race was Sen. Sheila Sorensen, who had made her name as a pro-
abortion legislator. Prior to running for Congress, Sorensen had opposed the Senate Republican
Majority’s desire to protect the sanctity of marriage.

Her opposition to much of the State Party Platform was confirmed by the fact that she garnered only
18% of the vote (district-wide), despite outspending all candidates but one.

Sorensen’s vote in Latah County was, however, unusually strong; in fact, she came in first at 31% of
Republican ballots cast. There were wide-spread rumors at the time that Sorensen’s campaign was

working Democrats in Latah County to support her bid to stop “right-wingers” from taking control of the
seat.

The election returns suggest they may have been somewhat successful.

Both Sen. Schroeder and Rep. Trail would be acceptable to Sorensen cross-over voters, and it seems
likely that all three were supported by Democrat Cross-Over Voters. However, the third legislative
candidate on the Republican ballot was challenging Democrat Rep. Shirley Ringo. In that race, we see
325 fewer Republican ballots cast for Roger Falen. This is a reasonable estimate of the number of Latah
County DCOV’s participating in the Republican Congressional Primary.

It is perhaps noteworthy that, if we subtract 325 votes from Sorensen’s vote total in Latah County, she
would have come in 2™ behind the eventual winner, Bill Sali. In fact, her percentage would have been
18% ~ approximately what Sorensen was able to win district-wide.

(2)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 11 of 24

NOTES:

*l There are several important background facts of which the reader should be appraised. In 2004, the IEA-PACE
reports expenditures of $30,004.23 to “communicate” political information to its members; this is most likely an
accounting of some of the monies used to organize DCOV efforts across the state.

in addition, IEA-PACE reports on file with the Secretary of State show $55,250 in contributions to twelve other
political action committees. We are working on analyzing those separate reports.

#2 According to the Legislature’s Daily Data, Sen. Schroeder was one of only 3 Senate Republicans to vote against
the Marriage Amendment in 2005. In 2009, he also supported efforts to raise the gas tax (HB96aas) and developed
a 100% pro-abortion voting record.

*3 Erom data collected on the Idaho Secretary of State’s website, based upon candidate and PAC filings under
Idaho’s Sunshine Act.

(3)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 12 of 24

Comparison of Votes Cast

Latah County

2004 GOP Primary
vs.
2004 General Election

130% —-
120% —-
110% —-
100%

90%

80% —-

10% —-

t t :
President USSenate Congress St Senate
(Votes for president = 100%)
= Total GOP Primary Votes

wus = Total General Election Ballots
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 13 of 24

Analysis of Canyon County’s District 10

2008 Primary:

Analysis of the Republican Primary between Rep. Curtis Bowers and challenger Pat Takasugi (House Seat

10A) suggests that Democrat Cross-Over Voters (DCOVs) made a critical difference in Bowers’ 507-vote
loss to Takasugi.

The first number which caught my attention is the relatively large number of voters participating in the
District 10 legislative primary. (There was only 1 Republican primary in the district in 2008). With a total
of 4,414 votes cast, it exceeds the totals of three previous primary elections. With 459 more votes cast
than in 2004, the total represents a 12% increase in turnout over that previous presidential primary.

More suggestive, however, is the fact that there were 790 more votes cast in the state house contest
between Bowers and Takasugi, than were cast in the Republican primary for president. This may well
represent the presence of a block of DCOV’s who were uncomfortable casting a ballot for John McCain,
Ron Paul — or even voting “None of the Above”.

Given the intense controversy Rep. Bowers engendered by public comments about homosexuality and
abortion early in his legislative career, there is ample reason to believe that DCOVs were particularly
motivated to see him removed from office.

On the other hand, there were 3,814 votes cast in the U.S. Senate Republican primary, and 3,835 ballots
voted in the 1* Congressional Republican primary; this compares favorably with the 3,801 ballots cast in
the Bowers/Takasugi primary for the state legislature.

Any theory about the presence of a significant block of DCOV participating in the District 10 primary
would have to account for the fact that these Democrat voters were not comfortable voting in the
presidential primary — but were comfortable casting ballots in the U.S. Senate and Congressional
primaries. A look at both races suggests that is entirely possible.

The Republican front-runner for the U.S. Senate, Jim Risch, is notoriously unpopular with progressive
Democrats; but this particular primary offered them a wealth of alternative candidates. In fact, the
ballot that spring carried 8 different GOP candidates. An analysis of the election returns finds that 43%
of those casting ballots in the Republican Senate primary voted for someone other than Sen. Risch,
despite his high name recognition and favorability among Republican voters. That seems an

extraordinarily high number, given the fact that the challengers were unknown and grossly under-
funded.

Likewise there are some unique dynamics at play in the Congressional primary. There is no doubt that
Mr. Sali, as the incumbent GOP congressman, was the object of unusual and intense dislike by Democrat
activists. | submit that the presence of Matt Salisbury offered this segment a tremendous opportunity
to embarrass and politically-weaken Mr. Sali going into his general election contest with Walt Minnick.
(And, in fact, Sali garnered only 54% of the primary vote in District 10).

The most compelling data suggesting the presence of DCOVs in the Bowers/Takasugi race is the
following graph, (“Comparison of Votes Cast — District 10”) which presents a picture of the very unusual
voting patterns in the District 10 primary (blue line) when compared to the statewide voting patterns of

(5)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 14 of 24

Republican primary voters in the same primary election (red/dashed line). With the latter, we see a
general fall-off of votes as people work their way down the ballot. That is clearly not the case with
people participating in the District 10 primary — a legislative district with a prohibitively-strong
Republican orientation. That makes it a prime candidate for strategic cross-over by liberal activists.

Given the fact that Rep. Bowers lost by just 507 votes, | believe DCOVs were largely responsible for his
removal from the Idaho Legislature.

(6)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 15 of 24

Comparison of Votes Cast

District 10
2008
130% Lb
120% [
110% I
100% |
som
\

se™ ‘ e
3 .
at >" go se sg
. oe oe e
oC oe

GOP Votes Cast in D10 Primary

Pose ar pre a a

Statewide GOP Votes in 2008 Primary

(statewide votes cast in GOP primaries;
votes for president = 100,
highest legislative vote totals in each district for

data point marked “State House A)

Total Votes Cast in D10 General Election

(votes for president =100;
all races contested)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 16 of 24

Analysis of Recent Primary Elections in Ada County’s District 14

This legislative district appears to be a hot-bed of Democrat cross-over voting during critical Republican
primaries.

2004 Legislative Primaries:

This election presented voters with two intensely-fought legislative primaries — the Beck/Bunderson

senate primary, and the Kulczyk/Bastian house primary. Both races seem to present classic evidence of
strategic Democrat participation.

The top of the Republican ticket was led by a popular U.S. Senator, Mike Crapo. He received 3,742
uncontested votes. President Bush was also on the ballot, and received 3377 votes in District 14;
another 612 ‘Republican’ ballots were cast for “None of the Above” — for a total of 3,989 ballots cast in
the presidential Republican contest.

Strangely, 4,085 ballots were cast in the state senate race between the conservative Rod Beck and the
IEA-preferred incumbent, Hal Bunderson’’. That is 96 more votes than were cast in the presidential
contest and 343 more votes than Senator Crapo received.

it is likely, therefore, that somewhere between 343 and 612 Democrat cross-over voters participated in
this primary. Bunderson’s margin was just 367 votes. It is arguable that DCOV’s cost Beck the election.

Even more interesting is the House B battle between incumbent representative Henry Kulczyk and
liberal challenger Stan Bastian’. It is quite strange that the vote total (n=4094) was even higher than
the state senate primary above it on the ballot. Bastian was heavily backed by the Idaho Education
Association because of Kulczyk’s strong opposition to the IEA agenda as a member of the House
Education Committee. Bastian beat Kulczyk by just 134 votes. It is probable, therefore, that Democrat
Cross-Over Voters-cost Kulczyk his seat in the Legislature.

2006 Legislative Primaries:

There is evidence of a Democrat Cross-Over effort in the state senate contest between Stan Bastian and
Rod Beck, though it is less conclusive than | found for 2004. (This is probably related to both the higher
turnout level and the complex ballot situation confronting Democrats in the 2006 Primary).

Let’s begin with looking at the proportion of Democrat/Republican primary ballots cast in District 14
over several primary elections.

In the 2002 primary, for which | found no obvious evidence of an organized cross-over effort, 14% of
ballots cast in the District 14 Primary were Democrat, 85% were Republican. In the 2004 Primary
Election, only 9% of ballots cast were for the Democrat party, with 91% being cast for Republicans; that
shift in proportion was one of the first clues pointing toward an organized DCOV effort.

The next election, 2006, 90% of ballots cast were again Republican, while 10% were Democrat. That
repeating pattern suggests another DCOV effort. (By way of context, in the 2008 Primary, the
proportion reverted to 14% Democrat/86% Republican).

In addition, we have two candidates with a proven ability to attract intense interest from the Idaho

(8)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 17 of 24

Education Association: Rep. Bastian was a reliable IEA vote, while Beck has enjoyed an enmity with the
teachers’ union going back to his time as Senate Majority Leader in the late 1980’s. *

Then there is the unusually high number of votes cast in the Republican senate race - 5,547. While that
number is less than the total number of Republican ballots cast for Governor in District 14 (5,738) it is
nevertheless an unusually-high proportion (97%). (The statewide proportion for 2006 Republican
primary ballots cast in legislative races is 89.3%). Furthermore, more Republican ballots were cast in
this state senate primary than were cast in the higher -ballot races for State Superintendent and Lt.
Governor. Again, that contradicts the statewide averages:

2006 Idaho Primary

GOP ballots for U.S. House: 132,487 (96.6%)

GOP ballots for Governor: 137,175 (100%)
GOP ballots for Lt. Gov: 119,481 (87%)
GOP ballots for SPI: 129,987 (94.8%)

GOP ballots for legislature: 122,556 (89.3%)

And, lastly, given the fact that DCOV’s likely changed the outcomes of two important primaries in the
previous election cycle, the presumption should be made that success would be followed by another
attempt to advance the interests of the same politician (Bastian) benefitting from the earlier effort.
(This is to say nothing of the organizational interests of the IEA). Bastian defeated Beck by just 303 votes
in 2006; that margin could easily have been achieved by a strategic cross-over program.

if the proportion of Democrat-to-Republican ballots cast in the 2006 primary election had been a more
“normal” 14%/86% ratio, some 286 fewer votes would have been cast in the GOP contest between Beck
and Bastian, perhaps producing a virtual dead heat.

NOTES:

*1) The Idaho Education Association did not, apparently, donate money directly to Bunderson’s re-election
campaign in 2004. However, they have a long-standing animosity toward Mr. Beck, a former GOP Senate Majority
Leader and one of the more outspoken critics of the union’s influence in public education. The IEA-PACE also did
not donate money to Bunderson’s Democrat challenger in the general election, probably because he did not
appear viable. Thus the union was stuck between an incumbent about whom it was, apparently, not particularly
excited and a challenger it dreaded.

*”) Bastian received $2000 from IEA-PACE in the 2004 cycle, another $400 from an IEA front group, “Friends of
Public Education”.

**) Bastian received another $2000 in direct contributions from IEA-PACE in 2006.

(9)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 18 of 24

Analysis of Primary Election History in District 15

District 15, located in Ada County, shows a high level of strategic cross-over voting during three
important state senate primary elections. The primary indicator of this rather institutionalized’* cross-
over effort is an unusually high proportion of GOP legislative ballots cast in the three primary elections
(2002, 2004 and 2006) when compared with top-of-ticket races.

2002 PRIMARY ELECTION:

Incumbent Senator John Andreason @ survived a vigorous primary challenge in 2002 by Dennis
Mansfield, a conservative activist. Sen. Andreason received 2,654 votes, while Mansfield received 1,919
votes — for a plurality of 735 votes. Total GOP ballots cast in the state senate primary equal 4,573.

What catches my attention is the fact that this race has 677 more votes than were cast for long-serving
U.S. Senator Larry Craig (3,896). Moreover, 1,160 more ballots were cast in the state senate race than
were cast for U.S. Congressman Butch Otter. This suggests selective, or “bullet” balloting by a fairly
large number of persons casting Republican votes in this district.

2002 gave voters a 4-way Republican primary for governor, as incumbent Republican Dirk Kempthorne
was challenged by Walter Bayes, Milt Erhart and Raynelle George. There were a total of 4,615 ballots

cast for Governor among Republican primary voters in District 15. (Governor Kempthorne easily won
with 58% of the vote).

There are two things which seem unusual about this vote. First, moderate Republican Milt Erhart
received 34% of the vote (1568).

Secondly, there are just 42 fewer votes in the state senate race than in the gubernatorial primary. That

means an extraordinarily-high proportion (99%) of those voting in the gubernatorial primary must have
voted in the state senate.

To put that proportion in context, we need to examine the broader context of legislative races across
Ada County that year.

In 2002, there were 15 Republican primary contests for legislative seats in Ada County, and just three
contested races among Democrats.

District 19 that year provides us with a rare example of a meaningful and hard-fought primary contest
between Democrats — Mike Burkett vs. Anne Pasley-Stuart. It becomes a “control” district: a Democratic
primary of sufficient interest to nearly prohibit Democrat Cross-Over Voting in the Republican legislative
primary contest between Joan Cloonan and Myrtle Mae Christensen.

tn District 19, a total of 3,872 votes were cast for Governor in the Republican Primary; there were 3,156
votes in the Republican contest between Christensen and Cloonan. That is a proportion of 82%. Put

another way, one can say that 18% of Republican gubernatorial voters failed to vote in the down-ballot
contest between Cloonan-Christensen.

Comparing the ratios of “fall-off” between the two districts (99% vs. 82%) reinforces the view that

(10)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 19 of 24

strategic cross-over voting, designed to protect the moderate John Andreason, occurred in District 15
during the 2002 primary election.

2004 PRIMARY ELECTION:

This primary election saw Sen. Andreason unchallenged (probably as a result of his 58% / 42% victory in
2002). However, there were two contested House primaries — involving an [EA-endorsed candidate
(Steve Smylie’, also an IEA member) and an lEA-preferred candidate, Max Black.

Total GOP ballots cast in the House A race equals 2,171. 2,176 ballots were voted in the House B
contest.

What is peculiar is the proportion of votes cast for the state house contests when compared with the
U.S. Senate nomination of Mike Crapo. Only 1,998 votes were cast for Sen. Crapo in District 15.

2004 was also a presidential election year. It is perhaps even more bizarre that President Bush received
only 1,788 GOP votes out of District 15; another 334 GOP ballots were cast for “None of the Names
Shown”, for a total of just 2,122 GOP presidential ballots - 49 fewer votes than were cast for the state
legislature.

One could estimate that the number of Democrat- Cross- Over- Voters participating in the legislative
primaries is in the range of 383 (334 “None of the Above” + 49 not voting for President). That number
{equal to 18% of total votes cast in House B) is potentially significant because Lynn Luker lost his primary
challenge to Rep. Max Black by just 70 votes.

2006 PRIMARY ELECTION:

This May election saw a repeat of the Andreason/Mansfield contest for the state senate. Voters were
also presented with contested GOP primaries for governor, state controller, state superintendent of
schools and attorney general.

Once again, we see an unusually-high number of votes being cast in the Republican state senate race
(3,843). That is only 51 fewer votes than were cast for Governor, which means that the number of
“Republican” state senate ballots is 99% of those cast for governor. That is an extraordinarily high
proportion, suggesting that bullet-balloting in the state senate race may have compensated for the
normal drop-off pattern demonstrated by voters.

In fact, if we use Republican votes for governor as the baseline (100%), we find a higher proportion of
ballots cast for the state senate than were cast in the contested races for state superintendent (98%),
state controller (89%) and even attorney general (92%).

A comparison with other contested GOP primaries around Ada County that year (n=7), confirms the
disproportionate rate of voting in the District 15 primary: The average proportion of gubernatorial votes
in those contested legislative races is 94%. District 15 has the highest proportion.

The anomalous voting patterns in District 15 are even more dramatically highlighted by comparing vote
totals there with statewide results. In the 2006 primary election, 137,175 votes were cast in the

Republican primary for governor. A total of 122,556 were cast statewide for Republican legislative
candidates, a proportion of just 89.3%.

(11)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 20 of 24

1 would also direct the reader’s attention to the following graph (“Comparison of Votes Cast in District
15”) to compare the dramatically-different voting patterns between the primary and general elections
of 2006. The black line represents a fairly norma! pattern of voter drop-off as they go down the ballot;
the blue line, by contrast, graphically presents the anomalous voting patterns in the 2006 primary.

NOTES:

*1) Some readers may not be familiar with the underlying political orientation of the IEA, the state affiliate of the
National Education Association. Campaign finance reports from the 2008 cycle demonstrate the organization’s
philosophy rather graphically: In that election year, IEA-PACE donated $31,750 to the Idaho Democratic Party or
state Democratic Party-affiliated committees. Just $1,500 was sent to GOP —affiliated committees.

*") The IEA-PACE invested $6,000 in direct contributions to Andreason’s campaigns between 2000-2008.

**) Rep. Smylie received the maximum $2,000 from IEA-PACE in 2004. Rep. Black did not receive monies from the
IEA in 2004; a search of his contributions shows $1,000 from IEA-PACE in 2000.

(12)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 21 of 24

Comparison of Votes Cast
District 15
2006

105% =.

100%

95%

90% —

85%

(votes for governor =100; all races contested)
Case 1:08-cv-00165-BLW Document 61-8 Filed 09/29/10 Page 22 of 24

Analysis of District 28

2004 House Primary:

Analysis of election return data for the 2004 Republican Primary demonstrates strong evidence of a
cross-over voting campaign by Democrats in the state house contest between Joseph Cannon and Steve
Adams. That effort is the most likely explanation for Mr. Cannon’s victory in that nominating election,
and confirms the public claims made by Democrat activist and candidate, Beverly Beach (*°).

There were 165 more votes cast in the Republican contest for House Seat 28B than were cast for
president, and 337 more votes cast than for popular Republican Senator Mike Crapo. That pattern

suggests strategic cross-over voting because those voters obviously did not cast ballots for top-of-the-
ticket candidates.

In fact, there were 949 more ballots cast in the House Seat 28B race than in the ballot contest before it,
House Seat 28A.

Comparing the voting patterns in District 28 with statewide returns in the 2004 Republican Primary
strengthens the conviction that Democrats were organized to prevent the nomination of a bona fide
conservative in Mr. Adams. Using the highest legislative vote totals in each of Idaho’s 35 legislative
districts, we find that 122,207 ballots were cast for Republican legislative candidates — equal to 98.7% of
the Republican votes cast for president. Yet in District 28, the percentage is 103% of the presidential
ballots. (Please see attached graph, “Comparison of Votes Cast — District 28 to State”).

As startling as that data is, it likely understates the scale of Democrat cross-over efforts in District 28: In
the course of my statewide research, | have found numerous cases (see foregoing) of cross-over
campaigns in 2004 Republican legislative primaries — which would inflate the statewide total for
Republican legislative ballots cast. That is, without DCOV efforts in a number of districts, the legislative
proportion (98.7%) would naturally be lower. In addition, DCOVs not wishing to vote for President Bush
had the option of voting “None of the Names Shown” on their Republican ballot; presumably some of

ab nen ae

those engaged in strategic cross-over voting in District 28 took advantage of that opportunity.

NOTES:
*1) See attached copy of Beverly Beach letter to the editor

(14)
oct ae -Gase 1:08- c¥+00165- BLW- Document 61- 8 Filed ooeas0, ‘Page 23 3 of 24

Peer oe me
Bony Beach “ean, Der 8 Home lh
: - 26:South 4006. Weel, Bleck Biackfoot, Iseho g3221 A e643656_ _emma eaondnown @atcin, -
ta pe-desing Jo Caron to te nate oe .

Comey He understands that ate poet ofa riglate

Bingham County. Eenng Mr. Lake back Bo wot ts an ee
poe On the temas of atacatian, thelr 70 . 7 cease
, : Mr; Lake soled « a Ber tet a ox Wkhout

} nd Mr at ae aca ln the ~
matin Ne ee eine ban eee oa < xoate erature
seal ud Sec teec ae ese nae i athe pe s 1038

rere aoa ; ; and adequa stely Tand educ: hog, remove the an Trae ge
- bia taxetion, provide tax incratlves for small bosiness ty and adequately
wort eee ei (CHIP), and bring goed paying jobs toldehe.

, Tew hatte ita of cr chien sa deed he itr of Lah Sepa! wpon pov Ou SE
with the very best education possiiie. ahaa, Do we ps — a to Ida

eo zeke by Bee Fa Fee een work we 1

Pro family: cantina re ob
wontion: When Be ge education, ve sinrt-change our children.
Fee OC pre Take: irvag tealioa with good- paying be meen Bong Tako.

Ifyou can support me, plese cal eat 329-2605. ae

CE er me Nk bet

zoo AdOO..N dTHS. MOIND HLI9 Cf 80Z XVA 9O?ZT L00z/2zT/zZ0
Case 1:08-cv-00165-BLW .Document 61-8 Filed 09/29/10 Page 24 of 24

Comparison of Votes Cast

District 28
2004

105% _|.
100% —L.
95% —-
90% -—r-
} L 1 y |
} } / '
oe”
ss 9? oe 3 xe > *
& PM se co oe o
ev x ee

GOP Votes Cast in D28 Primary

Statewide GOP Votes in 2008 Primary
(statewide votes cast in GOP primaries;
votes for president = 100;
highest legislative vote totals in each district used for
data point marked “State House B’’)

